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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                Case No.


  LYNNE KAUFMAN,
  on behalf of herself and all
  others similarly situated,

         Plaintiff,
  v.

  BANK OF AMERICA, N.A.,

         Defendants.

                                            /

                                   CLASS ACTION COMPLAINT

         Plaintiff LYNNE KAUFMAN (“Plaintiff” or “Ms. Kaufman”), on behalf of herself, and

  all others similarly situated, files this action against BANK OF AMERICA, N.A. (“BANA”) for

  its violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”), and

  Sections 559.72(9), Florida Statutes (“Florida Consumer Collection Practices Act” or “FCCPA”).

  In support Plaintiff alleges the following:

                                          INTRODUCTION

         1.      Plaintiff and Class Members are Florida homeowners whose homes have been in

  foreclosure. BANA is servicer of Plaintiff’s and Class Members’ homeowner mortgage loans and

  enforces, and regularly acts as, a debt collector of Plaintiff’s and Class Members’ mortgage loans.

         2.      In its servicing of mortgage loans, BANA has routinely and systematically charged

  homeowners, including Plaintiff and Class Members, “estimated” fees via standardized statements

  (“Payoff Statements”) it has sent them that list the amounts it requires for them to pay off their
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  loans. In Payoff Statements, BANA readily concedes that their “Total Amount[s] Due may

  include estimated fees, costs, additional payments and/or escrow disbursements that will become

  due” but had yet to be incurred.

         3.      In its servicing of mortgage loans, through Payoff Statements BANA has also

  routinely and systematically charged homeowners, including Plaintiff and Class Members, “Other

  Amounts Due,” including an array of fees, including “vacant property registration” fees.

         4.      These fees and the manner BANA discloses them are unlawful.

         5.      The mortgage instruments of Plaintiff and Class Members only authorize charges

  for fees actually incurred for services actually performed. Years ago, in a widely publicized

  decision, the Eleventh Circuit held “estimated” fees violated the FDCPA and FCCPA. Further,

  BANA has entered a government consent decree to that same effect. Moreover, the “vacant

  property registration” fees BANA charged were marked-up by additional fees for which BANA

  rendered no services and whose rates are set by local governments. Also, the FDCPA requires debt

  collections to represent debt information in a non-misleading manner and not to misrepresent

  amounts owed. Defendant’s Payoff Statements violate both these proscriptions.

         6.      For the foregoing conduct as detailed more fully below, Plaintiff brings two counts:

  Count I for BANA’s violation of the FDCPA; and Count II for BANA’s violation of the FCCPA.

  Defendant violated Plaintiff’s and Class Members’ substantive rights under these statutes, causing

  Plaintiff Ms. Kaufman and the putative Class Members cognizable injuries, giving rise to this

  action for statutory damages under them.

                                     JURISDICTION AND VENUE

         7.      The Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this

  action arises out of the FDCPA, a federal statute.




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          8.      The Court has supplemental jurisdiction over the FCCPA claim under 28 U.S.C. §

  1367, because this claim is so related to the federal FDCPA claims that it forms part of the same

  case or controversy under Article III of the United States Constitution.

          9.      The Court has personal jurisdiction because Defendant does business throughout

  the United States, including Florida and this District and because specific conduct and acts giving

  rise to this litigation occurred in this District.

          10.     Also, at all times material to this action, Defendant has maintained voluntary,

  continuous, and systematic contacts with Florida including local offices and operations in Florida,

  transacting substantial and regular mortgage servicing, foreclosure, and debt collection business

  in or affecting Florida, including of Plaintiff’s loan in this District and other mortgage loans on

  residential properties including those of Class Members in this District and in Florida, making it

  foreseeable BANA would be subject to this Court’s jurisdiction.

          11.     Venue is proper in this District under 28 U.S.C. §§ 1391(b)-(c) because Defendant

  is deemed to reside in any judicial district in which it is subject to personal jurisdiction at the time

  the action is commenced and because Defendant’s contacts with this District are sufficient to

  subject it to personal jurisdiction.

          12.     All conditions precedent to the filing of this action, if any, have been performed,

  have occurred, or have been waived.

          13.     In an attempt to amicably resolve the issues between the parties, on January 29,

  2018, Plaintiff sent Defendant a notice and cure letter attempting to resolve this dispute about its

  practice of charging “estimated” and “vacant property registration” fees to Plaintiff and Class

  Members. Defendant ignored Plaintiff’s attempt to resolve the issues at hand. This complaint

  followed.




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                                                PARTIES

         14.     Plaintiff Lynne Kaufman (“Ms. Kaufman”) is a natural person and consumer who

  resides and owns a home in this District. She is a citizen of Florida. She has taken out a mortgage

  loan on that home memorialized by the standardized Fannie Mae/Freddie Mac Uniform Instrument

  (Form 3010) for a single-family home.

         15.     Each Class Member has entered this same form instrument or a substantially and

  materially similar standardized mortgage instrument as Plaintiff.

         16.     The “estimated” and “vacant property registration” fees BANA charged Plaintiff

  relating to her mortgage loan and the mortgage loans of Class Members alleged throughout this

  complaint are the subject of this suit.

         17.     Bank of America, N.A, (“BANA”), is a national banking association with it

  principal place of business in Charlotte, North Carolina, where it is a citizen.

         18.     BANA is the successor by merger to BAC Home Loans Servicing, LP f/k/a

  Countrywide Home Loans Servicing LP., Countrywide Bank, FSB, Nexstar Financial

  Corporation, and Wilshire Credit Corporation.

         19.     BANA has regularly acted a mortgage servicer and collector of mortgage loan debts

  in this District and sent Plaintiff and Class Members Payoff Statements imposing on them

  “estimated” and “vacant property registration” fees for payoffs of their loans here.

         20.     Whenever in this complaint reference is made to any act or omission of an entity

  defendant, such allegations shall be deemed to mean that the directors, officers, agents, employees,

  distributors, partners, contractors, third-party contractors, agencies or representatives of said entity

  defendant, did authorize or command such act or omission while actively engaged in the

  management, operation, control or representation of the affairs of said entity defendant, partnership




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  or entity, and while acting within the course and scope of their agency, distributorship, contract,

  employment, representation and capacity.

                                           APPLICABLE LAWS

  FDCPA

         21.        The purpose of the FDCPA is “to eliminate abusive debt collection practices . . . to

  promote consistent State action to protect consumers against debt collection abuses…” 15 U.S.C.

  § 1692.

         22.        The FDCPA generally prohibits debt collectors, including BANA, from using “any

  false, deceptive, or misleading representation or means in connection with the collection of any

  debt” [§ 1692e], and the use of “unfair or unconscionable means to collect or attempt to collect

  any debt.” 15 U.S.C. § 1692f, including, but not limited t:

               a.   False representations or misrepresentations of “the character, amount, or legal

                    status of any debt.” Id. at § 1692e(2)(A);

               b. False representations or misrepresentations of any “compensation which may be

                    lawfully received by [the] debt collector for the collection of a debt.” 15 U.S.C. §

                    1692e(2)(B);

               c. “The collection of any amount (including any interest, fee, charge, or expense

                    incidental to the principal obligation) unless such amount is expressly authorized

                    by the agreement creating the debt or permitted by law.” Id. at § 1692f (1); and,

               d. “The use of any false representation or deceptive means to collect or attempt to

                    collect” a debt. Id. at § 1692e (10).




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  FCCPA

         23.     The purpose of the FCCPA is to “provide the consumer with the most protection

  possible.” LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1192 (11th Cir. 2010) (citing §

  559.552, Fla. Stat.).

         24.     Like the FDCPA, the FCCPA prohibits persons, including BANA, from engaging

  in certain abusive practices in the collection of consumer debts. See generally § 559.72, Fla. Stat.

         25.     Specifically, the FCCPA states that no person, including BANA, shall “claim,

  attempt, or threaten to enforce a debt when such person knows that the debt is not legitimate, or

  assert the existence of some other legal right when such person knows that the right does not exist.”

  § 559.72(9), Fla. Stat.


                    FACTUAL ALLEGATIONS RELATING TO PLAINTIFF

         26.     On or about June 10, 2005, Plaintiff purchased a home in Florida through a

  $244,000.00 loan from Countrywide Home Loans, Inc., secured by a mortgage on the property. A

  copy of Plaintiff’s mortgage loan agreement is attached as Exhibit A. A copy of the mortgage

  note is attached as Exhibit B.      The mortgage loan agreement is a Fannie Mae/Freddie Mac

  Uniform Instrument (Form 3010) for Florida. Fannie Mae is the current owner/investor of the loan.

  Plaintiff’s loan was primarily for personal, family, or household purposes.

         27.     Servicer Letter to Ms. Kaufman. At the time BANA acquired servicing rights to

  Ms. Kaufman’s loan, the loan was in default. Thereafter, BANA routinely communicated in

  writing with her to collect this debt.

         28.     Based on a letter BANA sent Ms. Kaufman, BANA became servicer of the loan on

  or about June 1, 2011. The letter advising her it was taking over as servicer was a standardized




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  form letter, identified by a standardized alphanumeric code. It stated in relevant part, in preprinted

  text,

          Bank of America, N.A. is required by law to inform you that this
          communication is from a debt collector attempting to collect a debt, and any
          information obtained will be used for that purpose.


  (emphasis in original). The letter also advised Ms. Kaufman of her rights the under FDCPA and

  potential state analogues to that statute. A copy of this form letter is attached as Exhibit C.

          29.    Payoff Statement to Ms. Kaufman. On or about October 2, 2017, Ms. Kaufman

  mailed BANA a letter requesting it provide her an accurate payoff balance. On or about October

  16, 2016, BANA responded, mailing Ms. Kaufman a standardized Payoff Statement. On or about

  October 24, 2017, Ms. Kaufman mailed BANA another letter advising BANA that balance was

  inaccurate.1 On or about November 13, 2017, BANA responded via mailed letter maintaining that

  the balance and Payoff Statement were accurate. See Exhibit D.

          30.     The October 16, 2016 Payoff Statement BANA maintains was accurate was a

  standardized form, identified by a standardized alphanumeric code, advising Ms. Kaufman her

  mortgage loan was in foreclosure and again advising her in preprinted text, in relevant part,

          Bank of America, N.A. is required by law to inform you that this
          communication is from a debt collector attempting to collect a debt, and any
          information obtained will be used for that purpose.

  (emphasis in original). A copy of this Payoff Statement is attached as Exhibit E.

          31.    In her Payoff Statement, BANA also informed Ms. Kaufman she must pay a “Total

  Amount Required to Release Lien.” Id. at 1 (emphasis added).




  1
   The request was sent via NEW REGS ADVISORY GROUP, whom Ms. Kaufman had
  authorized to receive all correspondence relating to her mortgage loan.



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          32.      This “Total Amount Required to Release Lien” was preceded by a table showing

  among others, a total for “Other Amounts Due” she was required to remit to pay off her mortgage

  loan. That table was accompanied by a footnote referring to a second table appearing on a second

  page, itemizing an array of fees and charges for “Attorney/Trustee Fee,” “Property Inspection,”

  “Title Fee,” “Advertising Cost,” “Court Cost,” “Court Filing Fee,” “Mailing Fee,” “Foreclosure

  Fee-Skip Trace,” “Title Search Fee,” and “Litigation Management Fee,” and “Process Server” fee.

  Id. at 2 (emphasis added).

          33.      Among this array of fees required to pay of her loan, in the Payoff Statement BANA

  also imposed a “vacant property registration” fee of $1,300.00. That fee though has been set by

  law at no more than $250.00. See Art. III, Sec. 10-51.5(i)(4), Boynton Beach Code of Ordinances.2

          34.      BANA did not stop there. On the next page of the statement, BANA advised Ms.

  Kaufman that the “Total Amount Due may include estimated fees, costs, additional payments

  and/or escrow disbursements that will become due,” which at some may be incurred. See Exhibit

  E, at 1 (emphasis added).

          35.      The Payoff Statement nowhere specifies what these “estimated” fees required to be

  paid as part of the “Total Amount Due” are. BANA did not state how these “estimated” fees were

  calculated, whether they may be disputed, or what provision of the uniform mortgage loan

  instrument gives rise to them. It simply stated that they “may” accrue by October 30, 2017 (the

  date on which the payoff statement became void), and that if payment of the “Total Amount Due”

  was made prior to October 30, 2017, Ms. Kaufman would receive a refund in the amount of the

  unaccrued fees. See Exhibit E.



  2
   See also https://www.propertyregistration.com/Ordinances/Detail/fl/palm-beach/boynton-beach-city,
  https://www.propertyregistration.com/ordinances/detail/fl/palm-beach/boynton-beach-
  city?communitycategoryordinanceid=294.



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         36.     The Payoff Statement also nowhere disclosed that the “vacant property

  registration” fee was marked-up by additional fees for which BANA rendered no services and

  exceeded the legally required expense if and when it was incurred.

         37.     To make matters worse, BANA imposed “estimated” and “vacant property

  registration” fees despite that the uniform mortgage instrument Ms. Kaufman executed specifically

  only authorizes fees that are incurred and disbursed for services actually performed in connection

  with a default on the loan. See Exhibit A at ¶ 9 (borrower pays for expenses “disbursed by

  Lender”), ¶ 14 (borrower pays fees for “services performed”), and ¶ 19 (borrower pays Lender for

  “expenses incurred”).

                          BANA’s UNIFORM COURSE OF CONDUCT

         38.     Ms. Kaufman’s experience is not unique. BANA has regularly serviced and

  collected on the home mortgage debts of Class Members defined below, and in its servicing of

  their mortgage loans, BANA has routinely and systematically charged Class Members,

  “estimated” and “vacant property registration” fees via standardized Payoff Statements mailed

  them when Plaintiff’s and Class Members’ loans were in default.

         39.     Upon information and belief, BANA tracks its general business practices as it

  relates to each member of the Class, including Plaintiff, electronically and maintains electronic

  records that are searchable regarding the loans and debts it collects and the mortgages it services

  and the “estimated” and “vacant property registration” fees it imposes and collects.         Upon

  information and belief, BANA tracks via electronic records their written requests for information,

  communications with them, and Payoff Statements.

         40.     As with Plaintiff, at the time BANA acquired servicing rights to each Class

  Member’s loan, the loan was in default. Thereafter, BANA routinely communicated in writing




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  with him or her to collect this debt. And as with Plaintiff, each Class Member’s mortgage loan was

  primarily for personal, family, or household purposes.

          41.      Each Class Member like Plaintiff has executed the standardized Fannie

  Mae/Freddie Mac Uniform Instrument (Form 3010) for a single-family home, or a substantially

  and materially similar standardized mortgage instrument, which, as stated above, only authorizes

  fees that are incurred and disbursed for services actually performed in connection with a default

  on the loan. Nevertheless, upon information and belief, BANA as a matter of routine and general

  business practice sent the above-described form Payoff Statement imposing on them “estimated”

  and “vacant property registration” fees to pay off their mortgages loans.

          42.      Over 90 local governments around Florida have enacted ordinances requiring

  vacant property registrations. Upon information and believe, no local government’s fee for those

  registrations exceeds $300.3 Nevertheless, BANA routinely marks up this charge beyond the fee

  incurred and services rendered for this government-imposed charge and has listed that amount in

  Payoff Statements as a charge that Plaintiff and each Class Member must pay to pay off his or her

  mortgage loan.

          43.      As with Plaintiff, this Payoff Statement was as a matter of routine and general

  business practice based on a standardized form whose versions are assigned uniform alphanumeric

  codes. These forms were materially the same for Plaintiff and Class Members and as with Plaintiff

  in them BANA uniformly included preprinted texts containing materially similar language,

                a. Identifying BANA as a debt collector;

                b. Representing a “Total Amount Required to Release Lien” preceded by a table

                   showing among others, a total for “Other Amounts Due,” accompanied by a


  3
   See http://www.safeguardproperties.com/Resources/Vacant_Property_Registration/FL.aspx?filter=vpr&sort=
  enacteddate&dir=asc&page=all.



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                  footnote referring to a table appearing on the second page, itemizing an additional

                  array of fees and charges that must be remitted to pay off the mortgage loan;

               c. Stating the “Total Amount Due” may include “estimated” fees, costs, additional

                  payments and/or escrow disbursements that will become due if at some point

                  incurred;

               d. Demanding that any “estimated” fees must be remitted to pay off the loan;

               e. Among the array of other fees on page two, imposing a “vacant property

                  registration” fee marked-up by additional undisclosed amounts for which BANA

                  rendered no services and that exceeded the legally required expense at some point

                  incurred;

               f. Demanding that a “vacant property registration” fee must be remitted to pay off the

                  loan;

               g. Omitting information enabling Plaintiff and Class Members to determine the

                  minimum amount they owe at the time by the void-after date, what they will need

                  to pay to resolve the debt at any given moment in the future, and an explanation of

                  the “estimated” and “vacant property registration” fees that will cause the balance

                  to increase; and,

               h. Omitting information explaining that the “vacant property registration” is a

                  government-imposed charge, which BANA is marking up beyond its actual

                  expense and imposing amounts for the fee for which it renders no service.

         44.      BANA’s Knowledge. Moreover, BANA has systematically made the demands for

  “estimated” and “vacant property registration” fees as part of the “Total Amount[s] Due” and

  “Total Amount Required to Release Lien” in Payoff Statements sent to Plaintiff and Class




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  Members, when it knew these were not legitimate debts and fees and that it had no lawful right to

  collect them.

           45.      BANA maintains electronic records of the actual costs and fees associated with

  each borrower’s loan, including the loans of Plaintiff and Class Members. BANA is a sophisticated

  mortgage loan servicer with compliance officers monitoring changes in the law and knowing the

  terms of mortgages it services and the statuses of debts and periodic payments it collects on them.

           46.      Well before the Payoff Statements at issue, the Eleventh Circuit held that the

  collection of “estimated” fees was illegal, because the mortgage instruments only allowed for fees

  actually incurred by the debt collector or servicer. The Eleventh Circuit reversed the district

  court’s grant of summary judgment on the FDCPA and FCCPA claims, opining, among other

  things, that the defendants were not permitted to charge “estimated” fees that had not yet incurred

  in their reinstatement of loan letter. Prescott v. Seterus, Inc., 635 Fed. Appx. 640, 647 (11th Cir.

  2015) (“[The defendants] violated the FDCPA and FCCPA by charging [the plaintiffs] estimated

  attorney’s fees that they had not agreed to pay in the security agreement.”).

           47.      Similarly, well before the Payoff Statements at issue, at least one Court held that

  marking up fees beyond expenses incurred for services actually rendered stated a violation of the

  FDCPA. See Daniel v. Select Portfolio Servicing, LLC, 159 F. Supp. 3d 1333, 1336 (S.D. Fla.

  2016).

           48.      Well before the Payoff Statements at issue, the media and trade publications

  consistently warned the industry against including estimated fees in reinstatement of loan letters,

  particularly those in the Eleventh Circuit under Prescott. Some of those industry warnings are :

                 a. 11th Circuit Finds Lender Violated FDCPA And Florida Law, Reverses Ruling,
                    Lexis Legal News (Dec. 7, 2015) (“The appeals court found that Seterus violated
                    the FDCPA and the FCCPA by charging Prescott estimated attorney fees and
                    refused to affirm the District Court’s decision.”);




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               b. Eleventh Circuit Issues Stern Warning Against Inclusion of Estimated Fees and
                  Costs in Reinstatement Quotes, USFN (Jan. 4, 2016) (“The Prescott decision should
                  cause any lender, loan servicer, or law firm that provides reinstatement quotes
                  and/or figures to borrowers to examine its practices and procedures in order to
                  determine whether or not information being provided to borrowers in reinstatement
                  situations could potentially constitute a FDCPA violation (or a violation of state
                  consumer protection law, such as the FCCPA). The Eleventh Circuit has sent a clear
                  message to the financial services industry…”);

               c. Recent Eleventh Circuit Reversal Sparks Upward Trend in Estimated-Fee FDCPA
                  Litigation, Lenderlaw Watch (Feb. 9, 2016) (“Concluding that the payoff quote was
                  a demand for payment, [the Eleventh Circuit] held that the inclusion of fees that
                  had not yet been incurred (even if expressly designated as such) was a demand for
                  compensation not permitted by the plaintiff’s mortgage agreement. . . . [L]oan
                  servicers should consider the impact of Prescott on their communications with
                  borrowers.”);

               d. News Alert: FDCPA Violations for Estimated Fees and Costs in Reinstatement and
                  Payoff Quotes, Potestivo & Associates (April 15, 2016) (“The recent Appellate
                  Court decision in Prescott, v. Seterus, Inc. . . . has gained nationwide notice.
                  Although the decision is only binding on the Eleventh Circuit, it has opened the
                  door and neatly laid the ground work for other jurisdictions to give similar rulings
                  in the future. Consequently, it is important for servicers and attorneys to be
                  informed and proactive regarding their decisions when it comes to estimated fees
                  and costs in reinstatement and payoff quotes.”); and,

               e. A Violation of the FDCPA – Estimating Attorney’s Fees in Reinstatement Figures,
                  Legal League 100 Quarterly (Q2 2016) (“The federal courts have recently held that
                  lenders may only charge for fees and expenses already incurred.”).

         49.      Also, well before the Payoff Statements at issue, BANA entered into and has been

  operating under a consent judgement with the federal government and Florida’s attorney general

  providing in relevant part, BANA’s foreclosure-related “service fees, including third-party fees,

  … shall be bona fide, reasonable in amount…disclosed in detail to the borrower…[and for

  services] actually rendered.” See US v. Bank of America, United States District Court for the

  District of Colombia, Case No.: 1:12-cv-00361-RMC, ECF No. [11], Ex. A pp. A-12, A-35.

         50.      Specifically, the consent judgement permitted BANA, its agents and its

  representatives to charge,




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         [A] default-related fee only if the fee is for reasonable and appropriate
         services actually rendered and one of the following conditions is met:

         a.     The fee is expressly or generally authorized by the loan instruments
         and not prohibited by law or this Agreement;

         b.     The fee is permitted by law and not prohibited by the loan
         instruments or this Agreement; or

         c.      The fee is not prohibited by law, this Agreement or the loan
         instruments and is a reasonable fee for a specific service requested by the
         borrower that is collected only after clear and conspicuous disclosure of the
         fee is made available to the borrower.

         51.      The Common Injury. The FDCPA and the FCCPA respectively create shared,

  substantive statutory rights for Plaintiff and Class Members.

         52.       The FDCPA creates a private right of action under 15 U.S.C. § 1692k. By the

  FDCPA Congress created shared, substantive statutory rights of Plaintiff and Class Members to

  be enforced privately, including,

               a. The rights to receive accurate information, representations, and disclosures, about

                  debts, including the fees comprising them;

               b. The rights to receive information, representations, and disclosures, about debts,

                  including the fees comprising them, that do not falsely or in a misleading manner

                  state, or do not mispresent, “the character, amount, or legal status of any debt;”

               c. The rights to receive information, representations, and disclosures, about debts,

                  including the fees comprising them, that do not falsely or in a misleading manner

                  state, or do not mispresent, the fee “compensation which may be lawfully received

                  by any debt collector for the collection of a debt;”

               d. The rights to be protected from unfair or unconscionable practices in collections of

                  their debts, including, but not limited to, the right to be obligated for and subject to




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                  collection of debt amounts and fees only when expressly authorized by the

                  agreement creating the debt or permitted by law; and,

               e. The rights to protection from deceptive means of collecting debts, including the

                  fees comprising them.

  See 15 U.S.C. §§ 1692, 1692e, 1692f, 1692k.

         53.      As stated above, BANA through its Payoff Statements imposed “estimated” fees

  that are not permitted in this Circuit and not permitted under Plaintiff’s and Class Members’

  mortgage instruments, which only authorize fees that are incurred and disbursed for services

  actually performed in connection with a default on the loan. BANA likewise imposed “vacant

  property registration” fees, which are not permitted by law or these mortgage instruments, because

  BANA marked them up by additional undisclosed amounts for which BANA rendered no services

  and which exceeded the government-mandated expense it paid. Also, BANA stated these fees in

  a various array of fees in tables over two pages and omitted any information enabling Plaintiff and

  Class Members to determine the minimum amount they owe at the time by the void-after date, and

  information explaining that the “vacant property registration” fee was a government-imposed

  charge, which BANA was marking up beyond its actual expense and imposing amounts for the fee

  for which it rendered no service.

         54.      By BANA’s imposition and representations in Payoff Statements of “estimated”

  and “vacant property registration” fees and the “Total Amount[s] Due” and “Total Amount

  Required to Release Lien” incorporating them, BANA violated the shared, substantive statutory

  rights of Plaintiff Class Members under the FDCPA, because in those statements it,

               a. Falsely or in a misleading manner stated, or mispresented the total amount of debt

                  owed by Plaintiff and each Class Members;




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                b. Falsely or in a misleading manner stated, or mispresented the characters, amounts,

                     or legal statuses of their debts;

                c.   Falsely or in a misleading manner stated, or mispresented the compensation that

                     BANA might lawfully receive for the collection of their debts;

                d.   Engaged unfair or unconscionable practices in collections of amounts due, by

                     imposing “estimated” and “vacant property registration” fees and the “Total

                     Amount[s] Due” and “Total Amount Required to Release Lien” incorporating

                     them, when those amounts were not expressly authorized by their mortgage

                     instruments creating the debt or not permitted by law; and,

                e. Engaged in deceptive means of collecting debts, including “estimated” and “vacant

                     property registration” fees and the “Total Amount[s] Due” and “Total Amount

                     Required to Release Lien” incorporating them, by representing them in a confusing,

                     inaccurate manner, or in a manner that would likely mislead a consumer.

          55.        The FCCPA also creates a private right of action. See § 559.77, Fla. Stat. By

  enacting the FCCPA the Florida Legislature created shared, substantive statutory rights of Plaintiff

  and Class Members to be enforced privately, including, but not limited to, the rights to be protected

  from collection of their debts by (a) persons who know that the debts they are attempting collect

  from them are not legitimate or (b) persons that assert the existence of some legal right vis-à-vis

  their debts when such person knows that the right does not exist. §§ 559.72, 559.72(9), 559.77,

  Fla. Stat.

          56.        By BANA’s imposition and representations in Payoff Statements of “estimated”

  and “vacant property registration” fees and the “Total Amount[s] Due” and “Total Amount

  Required to Release Lien” incorporating them, BANA violated the shared substantive rights of




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  Plaintiff Class Members under the FCCPA, because in those statements BANA attempted to

  collect debts when it knew,

               a. That it had no legal right to collect them or that the debts were not legitimate under

                    the terms of Plaintiff’s and Class Members’ mortgage instruments; and,

               b.   That it had no legal right to collect them or that the debts were not legitimate

                    because they were not permitted by law.

                                  CLASS ACTION ALLEGATIONS

         57.        Plaintiff asks to be designated as a “Class Representative,” and as Class

  Representative brings this action under Federal Rules of Civil Procedure 23(a) and (b)(3) on behalf

  of all other persons similarly situated—the “Classes” or “Class Members” defined as follows:

          FDCPA “Estimated” Fee Class
         Within the applicable statutes of limitation, all natural persons, (a) whose
         residences with addresses in Florida were mortgaged under the standardized Fannie
         Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially similar
         standardized residential mortgage instrument; (b) for whose mortgage loans under
         those instruments BANA acquired servicing rights after the loans were in default;
         and (c) whom BANA mailed a Payoff Statement after acquiring servicing rights,
         representing that the “Total Amount Due” may include estimated fees, costs,
         additional payments and/or escrow disbursements that will become due.”

          FDCPA “Vacant Property Registration” Fee Class
         Within the applicable statutes of limitation, all natural persons, (a) whose
         residences with addresses in Florida were mortgaged under the standardized Fannie
         Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially similar
         standardized residential mortgage instrument; (b) for whose mortgage loans under
         those instruments BANA acquired servicing rights after the loans were in default;
         and (c) whom BANA mailed a Payoff Statement after acquiring servicing rights,
         representing a “vacant property registration” fee among the “Other Amounts Due.”

         FCCPA “Estimated” Fee Class
         Within the applicable statutes of limitation, all natural persons, (a) whose
         residences with addresses in Florida were mortgaged under the standardized Fannie
         Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially similar
         standardized residential mortgage instrument; (b) whose mortgage payments under
         those instruments BANA collected; and (c) whom BANA mailed a Payoff




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         Statement, representing the “Total Amount Due” may include estimated fees, costs,
         additional payments and/or escrow disbursements that will become due.”

          FCCPA “Vacant Property Registration” Fee Class
         Within the applicable statutes of limitation, all natural persons, (a) whose
         residences with addresses in Florida were mortgaged under the standardized Fannie
         Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially similar
         standardized residential mortgage instrument; (b) whose mortgage payments under
         those instruments BANA collected; and (c) whom BANA mailed a Payoff
         Statement, representing a “vacant property registration” fee among the “Other
         Amounts Due.”

  Plaintiff and Class Members reserve the right to amend the Class definitions as discovery proceeds

  and to conform to the evidence. Excluded from the Classes are persons whose Payoff Statements

  according to BANA records were returned as undeliverable, persons whose mortgages were for

  commercial purposes, not for personal, family, or household purposes, and Defendant, and any

  subsidiary or affiliate of Defendant, and the directors, officers and employees of Defendant or its

  subsidiaries or affiliates, and members of the federal judiciary.

         58.     Numerosity (Rule 23(a)(1)). Plaintiff alleges on information and belief that the

  number of Class Members is so numerous that joinder of them is impractical. At this time, Plaintiff

  does not know the exact number of Class Members, but the members of the Classes will be easily

  ascertained through Defendant’s electronic records, data, and databases. Plaintiff’s belief is

  bolstered by information indicating BANA mortgage servicing garners billions of dollars in

  servicing revenue per year, as of first quarter 2017 BANA was servicing 3.72 million loans with

  unpaid balances of $519.1, of which approximately .5 % were in foreclosure, BANA is part of

  corporate structure that has purchased large piece of distressed mortgages, BANA was successor

  via merger to among others Countrywide Home Loans Servicing LP that serviced distressed

  mortgages, and Florida has had one of the highest foreclosure rates in the US.




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         59.      Commonality (Rule 23(a)(2)). There are common questions of law and/or fact that

  predominate over any questions affecting only individual members of the class.             These

  predominant common questions of law and/or fact include the following:

               a. Whether the Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a

                  substantially similar standardized residential mortgage instrument executed by

                  Plaintiff and Class Members authorizes BANA to impose “estimated” fees;

               b. Whether the Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a

                  substantially similar standardized residential mortgage instrument executed by

                  Plaintiff and Class Members authorizes BANA to impose “vacant property

                  registration” fees;

               c. Whether BANA’s impositions of “estimated” and “vacant property registration”

                  fees violate the FDCPA;

               d. Whether BANA’s impositions of “estimated” and “vacant property registration”

                  fees violate the FCCPA;

               e. Whether Plaintiff and Class Members are entitled to statutory damages under the

                  FDCPA and the amounts thereof; and,

               f. Whether Plaintiff and Class Members are entitled to statutory damages under the

                  FCCPA and the amounts thereof.

         60.      Typicality (Rule 23(a)(3)). The claims of the Class Representative are typical of

  the claims that would be asserted by other members of the Class in that, in proving her claims

  under the FDCPA and FCCPA, Plaintiff will simultaneously prove the claims of all Class

  Members. The rights afforded under the FDCPA and the FCCPA are the same for Plaintiff and

  Class Members.      Plaintiff and each Class Member entered a substantially similar standardized




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  mortgage instrument and was sent the standardized Payoff Statement described above by BANA,

  when it was trying to collect a debt under that mortgage. If this conduct violates the FDCPA and

  the FCCPA, it is does so not only for Plaintiff but for each Class Member. Moreover, any statutory

  damages awarded under those statutes will be formulaic.

          61.     Adequacy (Rule 23(a)(4)). The Class Representative is a natural person whose

  mortgaged residence is in Florida, and she has no conflicts of interest and will fairly and adequately

  protect and represent the interests of each member of the Class.            Additionally, the Class

  Representative is fully cognizant of its responsibility as Class Representative and has retained

  experienced counsel fully capable of, and intent upon, vigorously pursuing the action. Each class

  counsel has extensive experience in class and/or FDCPA or FCCPA claims in this District.

          62.     Predominance and Superiority Rule 23 (b)(3). The common questions identified

  above predominate over any questions of law or fact affecting only individual members of the

  Class. Moreover, class treatment is clearly superior to other available methods for the fair and

  efficient adjudication of this controversy.

                                                COUNT I

                    (Fair Debt Collection Practices Act 15 USC §§ 1692e, 1692f)

          63.     Plaintiff incorporates by reference paragraphs1-22, 26-43, 51-54, and 57-62, as if

  set forth fully herein.

          64.     Plaintiff and each Class Member was a “consumer” as defined by 15 U.S.C. §

  1692a(3) when each purchased a home by mortgage in Florida.

          65.     The mortgage loans of Plaintiff and Class Members are debts under the FDCPA

  because each is “an[] obligation or alleged obligation of a consumer to pay money arising out of




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  a transaction . . . [that is]…primarily for personal, family, or household purposes.” 15 U.S.C. §

  1692a(5).

         66.     BANA is a “debt collector” of those mortgage loans as defined by 15 U.S.C. §

  1692a(6) because it regularly attempts to collect, and collects, amounts owed or asserted to be

  owed or due another, including the mortgage debts from Plaintiff and Class Members via Payoff

  Statements. The Payoff Statements and servicing letter described above indeed uniformly

  confirmed this by identifying BANA as a debt collector. And BANA acquired the servicing

  rights of Plaintiff and each Class Member’s mortgage after it was in default.

         67.     BANA engaged in direct “communications” with Plaintiff and Class Members as

  defined by 15 U.S.C. § 1692a(2) when it sent them or their representatives Payoff Statements,

  purportedly demanding money due for reinstatement or payoff of their mortgage loans.

         68.     The FDCPA creates a private right of action under 15 U.S.C. § 1692k.

         69.     As stated above in paragraphs 52-54, Congress created shared, substantive

  statutory rights of Plaintiff and Class Members to be privately enforced and protected under the

  FDCPA, which BANA has violated. See 15 U.S.C. §§ 1692, 1692e, 1692f.

         70.     15 U.S.C. §1692e states, in relevant part,

                    A debt collector may not use any false, deceptive, or misleading
                    representation or means in connection with the collection of any debt.
                    Without limiting the general application of the foregoing, the
                    following conduct is a violation of this section:
                    ……
                    (2) The false representation of—
                    (A) the character, amount, or legal status of any debt; or
                    (B) any services rendered or compensation which may be lawfully received by
                    any debt collector for the collection of a debt.
                    ………

                    (10) The use of any false representation or deceptive means to collect
                    or attempt to collect any debt or to obtain information concerning a




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                    consumer.

           71.   15 U.S.C. § 1692f states, in relevant part,

                     A debt collector may not use unfair or unconscionable means to collect or
                     attempt to collect any debt. Without limiting the general application of the
                     foregoing, the following conduct is a violation of this section:

                     (1) The collection of any amount (including any interest, fee, charge, or
                     expense incidental to the principal obligation) unless such amount is
                     expressly authorized by the agreement creating the debt or permitted by law.


           72.   Based on the foregoing allegations, BANA used deceptive means of collecting

  debts––the “estimated” and “vacant property registration” fees and the “Total Amount[s] Due”

  and “Total Amount Required to Release Lien” incorporating them––in violation of 15 U.S.C. §

  1692e(10), because it represented them in Payoff Statements in a confusing, inaccurate manner,

  or in a manner that would likely mislead a consumer.

           73.   Based on the foregoing allegations, BANA violated 15 U.S.C. § 1692e(2)(A)

  because through its Payoff Statements imposing “estimated” and “vacant property registration”

  fees and the “Total Amount[s] Due” and “Total Amount Required to Release Lien”

  incorporating them, it falsely or in a misleading manner stated, or mispresented, the amount,

  character, or status of the amounts needed to payoff Plaintiff’s and Class Members’ mortgage

  debts.

           74.   Based on the foregoing allegations, BANA violated 15 U.S.C. § 1692e(2)(B)

  when through its Payoff Statements imposing “estimated” and “vacant property registration”

  fees, it falsely or in a misleading manner stated, or mispresented, the compensation that it might

  lawfully receive from Plaintiff and Class Members.

           75.   Based on the foregoing allegations, BANA used unfair means of collecting

  amounts for “estimated” and “vacant property registration” fees and the “Total Amount[s] Due”




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  and “Total Amount Required to Release Lien” incorporating them in violation of 15 U.S.C. §

  1692f, because the amounts were not expressly authorized by Plaintiff’s and Class Members’

  mortgage instruments creating their debts as they must be under those instruments, or they were

  not permitted by law.

          76.     These violations of FDCPA caused injury to Plaintiff and Class Members by

  violating the foregoing substantive FDCPA rights.

          77.     As a result of these violations, Plaintiff and Class Members are entitled to

  statutory damages together with reasonable attorney’s fees and costs under 15 U.S.C. § 1692(k).

                                          COUNT II
                (Florida Consumer Collection Practices Act § 559.72(9), Fla. Stat.)

          78.     Plaintiff incorporates by reference paragraphs 1-20, 23-51, 55-56, and 57-62, as if

  set forth fully herein.

          79.     Plaintiff and each Class Member was a “debtor” and “consumer” as defined by

  Section 559.55(8), Florida Statutes, when each purchased a home by mortgage in Florida.

          80.     In Section 559.72, Florida Statutes, the FCCPA mandates that “no person” shall

  engage in certain practices in collecting consumer debts. BANA is a “person” within the meaning

  of the FCCPA. Id.; see also § 1.01(3), Fla. Stat.

          81.     The mortgage loans of Plaintiff and Class Members are each a “debt” under the

  FCCPA because each one is “an[] obligation or alleged obligation of a consumer to pay money

  arising out of a transaction in which the money, property, insurance, or services which are the

  subject of the transaction are primarily for personal, family, or household purposes, whether or not

  such obligation has been reduced to judgment.” § 559.55(6), Fla. Stat.

          82.     The FCCPA creates a private right of action. See § 559.77, Fla. Stat.




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          83.     As stated above in paragraphs 55-56, the Florida Legislature created shared,

  substantive statutory rights of Plaintiff and Class Members to be enforced and protected privately

  under the FCCPA, which BANA violated. §§ 559.72, 559.72(9), 559.77, Fla. Stat.

          84.     Under Section 559.72, Florida Statutes,

          In collecting consumer debts, no person shall:

          ……

          (9) Claim, attempt, or threaten to enforce a debt when such person knows that the
          debt is not legitimateor assert the existence of some other legal right when such
          person knows that the right does not exist.

          85.     Based on the foregoing allegations, BANA violated Section 559.72(9), Florida

  Statutes, by attempting to collect “estimated” and “vacant property registration” fees and the

  “Total Amount[s] Due” and “Total Amount Required to Release Lien” incorporating them, when,

  as stated above, it knew that the fees, and as a corollary, the total amounts incorporating them,

  were not legitimate debts.

          86.     Based on the foregoing allegations, BANA violated Section 559.72(9), Florida

  Statutes, by attempting to collect “estimated” and “vacant property registration” fees and the

  “Total Amount[s] Due” and “Total Amount Required to Release Lien” incorporating them, when,

  as stated above, it knew it had no legal right to collect the fees, and as a corollary, no legal right to

  collect the total amounts incorporating them.

          87.     These violations of FCCPA caused injury to Plaintiff and Class Members by

  violating the foregoing substantive FCCPA rights.

          88.     As a result of these violations, Plaintiff and Class Members are entitled to statutory

  damages together with reasonable attorney’s fees and costs under Section 559.77, Florida Statutes.




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                              JURY DEMAND AND RESERVATION

         Plaintiff respectfully requests a trial by jury on all issues so triable.

                                        RELIEF REQUESTED

             WHEREFORE Plaintiff, on behalf of herself and the Class, respectfully requests this

         Court to award against BANA in favor of Plaintiff and the Class all of the following:

             a. Certifying either Count I or Count II or both counts for class treatment under

                 Federal Rules of Civil Procedure 23(a) and (b)(3), appointing Plaintiff as Class

                 Representative, and appointing Plaintiff’s attorneys as counsel for the Class;

             b. A judgment for statutory damages under the FDCPA or the FCCPA;

             c. A judgment for costs and reasonable attorney’s fees under the FDCPA or the

                 FCCPA; and,

             d. Any other relief for Plaintiff and the Class the Court deems just and proper.

  Respectfully Submitted this 20th day of April 2018, by:

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